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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3                                                   ***

 4   UNITED STATES OF AMERICA,                              Case No. 2:07-CR-145-KJD-PAL
 5                                             Plaintiff,
 6          v.                                                                  ORDER
 7   MICHAEL WAYNE YOST,
 8                                           Defendant.
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11          Before the Court is the Government’s Unopposed, Urgent Motion to Unseal Documents
12   for Appeal (#1469). Mr. Yost has filed an appeal alleging, inter alia, ineffective assistance of
13   counsel. The Government seeks the unsealing of Yost’s former counsel’s supplement to his
14   motion to withdraw (#1221), as well as three letters placed under seal by Magistrate Leen to
15   preserve the record for appeal (##1247, 1248).
16          Defendant not only has no objection to the unsealing of these documents, but has waived
17   his attorney-client privilege as to those topics voluntarily discussed in his letters to the Court.
18   (#1469). “[V]oluntary disclosure of the content of a privileged attorney communication
19   constitutes waiver of the privilege as to all other such communications on the same subject.”
20   Weil v. Inv./Indicators, Research & Mgmt., Inc., 647 F.2d 18, 24 (9th Cir. 1981).
21          Accordingly, the Court HEREBY ORDERS that docket #1221 and #1248 be made
22   available to the Government and to Yost’s appellate counsel.
23          DATED this 4th day of February, 2015.
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                                                            Kent J. Dawson
26                                                          United States District Judge
